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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             4:11CR3086

vs.
                                             MEMORANDUM AND ORDER
RUBEN CARRILLO-CASTELLON,

                 Defendant.


      This matter is before the Court on Castellon's pro se motion to dismiss
the indictment in his case. Filing 115. The Court will construe Castellon's
motion as a motion to vacate, set aside, or correct a sentence under 28
U.S.C. § 2255, and the Court will give Castellon the opportunity to withdraw
or amend his motion.

                             I. BACKGROUND
      Castellon was charged with conspiring to distribute 50 grams or more
of a mixture or substance containing a detectable amount of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846. See filing 1.
Castellon pled guilty to the sole count of the indictment, pursuant to a plea
agreement. See filings 43, 44, 45, 48, and 51. On February 2, 2012, Senior
Judge Richard G. Kopf entered judgment, sentencing Castellon to 87 months'
imprisonment. Filing 84. Castellon filed a notice of appeal on June 18, 2012,
which was dismissed as untimely. See filings 102 through 110.

                                II. ANALYSIS
      Castellon asks the Court to dismiss the indictment under which he was
convicted. He argues that the indictment failed to provide him with notice of
the crime charged and the possible penalties, in violation of his due process
rights, and that it was defective under Apprendi v. New Jersey, 530 U.S. 466
(2000). He also asserts that § 841(b) is facially unconstitutional under
Apprendi.
      The Court will construe Castellon's motion as one brought
under § 2255. Castellon is challenging the legality of his conviction and
sentence, which must be done through a § 2255 motion. See Nichols v.
Symmes, 553 F.3d 647, 649 (8th Cir. 2009) (federal prisoner challenging the
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legality of his sentence must raise his claims in a § 2255 motion). Any motion
that is filed in the district court that imposed the sentence, and is
substantively within the scope of § 2255(a) "is a motion under § 2255, no
matter what title the prisoner plasters on the cover." Melton v. United States,
359 F.3d 855, 857 (7th Cir. 2004).

      A prisoner in custody under sentence of a court established by
      Act of Congress claiming the right to be released upon the ground
      that the sentence was imposed in violation of the Constitution or
      laws of the United States, or that the court was without
      jurisdiction to impose such sentence, or that the sentence was in
      excess of the maximum authorized by law, or is otherwise subject
      to collateral attack, may move the court which imposed the
      sentence to vacate, set aside or correct the sentence.
§ 2255(a). Castellon's motion falls within the scope of § 2255.
      However, before Castellon's motion may be characterized as a § 2255
motion, two conditions must be satisfied. The Court must warn Castellon of
the consequences of treating his motion as one brought under § 2255 and give
him an opportunity to avoid these consequences. See Castro v. United States,
540 U.S. 375, 382–83 (2003). Castellon is warned: federal law imposes
substantial restrictions on the filing of "second or successive" § 2255
motions.1 So, Castellon must do his utmost to include all of his claims for
post-conviction relief in a single motion. If Castellon has additional grounds
for relief he wishes to assert, he should consider withdrawing his current
motion, or seeking leave to amend it. Otherwise he runs the risk of forfeiting
his other claims.
      Castellon is also warned that a 1-year statute of limitations applies
to § 2255 motions. See § 2255(f). Castellon's current motion was filed within

1 A second or successive motion must be certified under 28 U.S.C. § 2244 by a panel

of the appropriate court of appeals to contain:

             (1) newly discovered evidence that, if proven and viewed in light
      of the evidence as a whole, would be sufficient to establish by clear and
      convincing evidence that no reasonable factfinder would have found
      the movant guilty of the offense; or

             (2) a new rule of constitutional law, made retroactive to cases on
      collateral review by the Supreme Court, that was previously
      unavailable.
§ 2255(h).



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that period,2 but if he is not careful, future motions may fall outside the
limitations period and be barred.
      The Court will grant Castellon leave to amend or withdraw the present
motion. So, Castellon has three options:

      1.     If Castellon wishes the Court to rule on his current § 2255
             motion as submitted, he shall notify the Court on or before
             November 7, 2012. If Castellon does not respond to this
             order by November 7, 2012, he will be deemed to have
             consented to having the present motion treated as a § 2255
             motion, and the Court will rule on it as currently
             submitted.

      2.     Castellon may withdraw his current motion. If Castellon
             wishes to do so, he must inform the Court on or before
             November 7, 2012. If the present motion is withdrawn,
             Castellon may assert a new § 2255 motion within the
             otherwise applicable statute of limitations. See § 2255(f). If
             Castellon later files a new § 2255 motion, he is directed to
             use the standard § 2255 form. The Clerk will provide
             Castellon with a copy of this form.

      3.     Castellon may amend his current motion. He may amend
             his current claim for relief, and may also add new claims
             for relief. If Castellon chooses to amend his motion, he must
             submit an amended § 2255 motion on or before November
             7, 2012. Castellon may amend his motion by simply
             amending his brief as submitted or by using the § 2255
             motion form (or by using a combination of the two). The
             Clerk will provide Castellon with a copy of this form.


2 The 1-year period of limitations starts to run from the latest of several triggering

events. § 2255(f). In this case (unless Castellon shows that another triggering event
is appropriate), the 1-year period began to run on the date Castellon's conviction
became final. § 2255(f)(1). Judgment was entered on February 2, 2012. Filing 84.
Because Castellon failed to file a timely notice of appeal, his conviction became final
14 days later, on February 17, 2012. See, Fed. R. App. P. 4(b); Anjulo-Lopez v.
United States, 541 F.3d 814, 816 n.2 (8th Cir. 2008); see also, United States v.
Jackson, 205 F. Supp. 2d 876, 880 (W.D. Tenn. 2002) (untimely notice of appeal
does not toll running of 1-year limit); United States v. Davis, 2009 WL 693135, at
*2–3 (D.S.C. 2009) (same).

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     Accordingly,

     IT IS ORDERED:

     1.    On or before November 7, 2012, Castellon shall either:
           inform the Court that he wishes to proceed with his motion
           as submitted; withdraw the current motion; or submit an
           amended motion. If Castellon does not respond, he will be
           deemed to have consented to having the present motion
           treated as a § 2255 motion, and the Court will rule on it as
           currently submitted.

     2.    The Clerk's Office is directed to send a copy of this order
           and a § 2255 motion form to Castellon at his last known
           address; and

     3.    The Clerk's Office is directed to set a pro se case
           management deadline with the following text: November 8,
           2012: Check for Castellon's response regarding conversion
           to § 2255.

     Dated this 4th day of October, 2012.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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